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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 HERMÈS INTERNATIONAL and                                   No. 22-cv-00384-JSR
 HERMÈS OF PARIS, INC.,
                                                            ECF Case
                  Plaintiffs,
                                                            NOTICE OF DEFENDANT
                     v.                                     MASON ROTHSCHILD’S
                                                            MOTION FOR SUMMARY
 MASON ROTHSCHILD,                                          JUDGMENT
                 Defendant.


       PLEASE TAKE NOTICE that Defendant Mason Rothschild, by and through his

attorneys, Lex Lumina PLLC, respectfully moves this Court before the Honorable Jed S. Rakoff

at the United States Courthouse, Southern District of New York, 500 Pearl Street, New York,

New York, for an Order pursuant to Federal Rule of Civil Procedure 56 granting summary

judgment for Defendant and dismissing all of Plaintiffs’ claims, and for such other and further

relief as the Court deems just and proper.

       The schedule for the motion, pursuant to this Court’s Order dated May 5, 2022 [ECF No.

48], is as follows: Mr. Rothschild’s moving papers to be served and filed by October 7, 2022;

Plaintiffs’ answering papers to be served and filed by October 21, 2022; Mr. Rothschild’s reply

papers, if any, to be served and filed by October 28, 2022; and oral argument to take place on

November 4, 2022, at 4:00 p.m.




                                    [Signature Page Follows]
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Dated: September 28, 2022                Respectfully Submitted,

                                         /s/ Rhett O. Millsaps II
                                         Rhett O. Millsaps II
                                         Christopher J. Sprigman
                                         Mark P. McKenna (pro hac vice)
                                         Rebecca Tushnet
                                         LEX LUMINA PLLC
                                         745 Fifth Avenue, Suite 500
                                         New York, NY 10151
                                         (646) 898-2055
                                         rhett@lex-lumina.com

                                         Attorneys for Defendant Mason Rothschild




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